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   EXHIBIT 1
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 COAKLEY PENDERGRASS et al.,
                                                   CIVIL ACTION FILE
              Plaintiffs,                          NO. 1:21-CV-05339-SCJ

       v.

 BRAD RAFFENSPERGER, in his official
 capacity as the Georgia Secretary of State,
 et al.,

              Defendants.


                  DECLARATION OF WILLIAM S. COOPER

       WILLIAM S. COOPER, acting in accordance with 28 U.S.C. § 1746, Federal

Rule of Civil Procedure 26(a)(2)(B), and Federal Rules of Evidence 702 and 703,

does hereby declare and say:

I.     INTRODUCTION

       1.     My name is William S. Cooper. I have a B.A. in Economics from

Davidson College. As a private consultant, I serve as a demographic and redistricting

expert for the Plaintiffs.

       2.     I have testified at trial as an expert witness on redistricting and

demographics in federal courts in about 45 voting rights cases since the late 1980s.

Over 25 of the cases led to changes in local election district plans. Five of the cases
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resulted in changes to statewide legislative boundaries: Rural West Tennessee

African-American Affairs Council, Inc. v. McWherter, No. 92-cv-2407 (W.D.

Tenn.); Old Person v. Brown, No. 96-cv-0004 (D. Mont.); Bone Shirt v. Hazeltine,

No. 01-cv-3032 (D.S.D.); Alabama Legislative Black Caucus v. Alabama, No. 12-

cv-691 (M.D. Ala.), and Thomas v. Reeves, No. 18-cv-441 (S.D. Miss.). In Bone

Shirt v. Hazeltine, the court adopted the remedial plan I developed.

        3.   I served as the Gingles 1 expert for two post-2010 local-level Section 2

cases in Georgia, Georgia State Conference of NAACP v. Fayette County Board of

Commissioners, No. 11-cv-123 (N.D. Ga.), and Georgia State Conference of

NAACP v. Emanuel County Board of Commissioners, No. 16-cv-21 (S.D. Ga.). In

both cases, the parties settled on redistricting plans that I developed (with input from

the respective defendants). In the latter part of the decade, I served as the Gingles 1

expert in three additional Section 2 cases in Georgia, which were all voluntarily

dismissed in advance of the 2020 elections: Georgia State Conference of NAACP v.

Gwinnett County Board of Commissioners, No. 16-cv-2852 (N.D. Ga.), Thompson

v. Kemp, No. 17-cv-1427 (N.D. Ga.), and Dwight v. Kemp, No. 18-cv-2869 (N.D.

Ga.).

        4.   I currently serve as a redistricting consultant to the San Juan County,

Utah Commission. On December 21, 2021, the San Juan County Commission


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adopted a three-district commission plan that I developed. On January 4, 2022, the

Commission adopted a five-district school board plan that I developed.

      5.    In October 2021, I briefly served as a consultant to the city council in

Wenatchee, Washington and determined that the 2018 redistricting plan I drew is not

malapportioned under the 2020 Census.

      6.    On January 5, 2022, I testified at trial in the Northern District of Alabama

in Caster v. Merrill, No. 21-cv-1536 (N.D. Ala.), on behalf of plaintiffs challenging

Alabama’s 2021 congressional plan under Section 2 of the Voting Rights Act.

      7.    My redistricting experience is further documented in Exhibit A.

      A.     Purpose of Declaration

      8.    The attorneys for the Plaintiffs in this case asked me to determine

whether the African American1 population in Georgia is “sufficiently large and




1 In this declaration, “African American” refers to persons who are Single Race
Black or Any Part Black (i.e., persons of two or more races and some part Black),
including Hispanic Black. In some instances (e.g., for historical comparisons),
numerical or percentage references identify Single Race Black as “SR Black” and
Any Part Black as “AP Black.” Unless noted otherwise, “Black” means AP Black.
It is my understanding that following the U.S. Supreme Court decision in Georgia
v. Ashcroft, 539 U.S. 461 (2003), the “Any Part” definition is an appropriate Census
classification to use in most Section 2 cases.


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geographically compact”2 to allow for the creation of an additional majority-Black

congressional district in the Atlanta metropolitan area.

       9.    Exhibit B describes the sources and methodology I have employed in

the preparation of this report and the Illustrative Plan. In short, I used the Maptitude

for Redistricting software program as well as data and shapefiles from the U.S.

Census Bureau and the Georgia Legislative and Congressional Reapportionment

Office, among other sources.

       B.     Expert Conclusions

       10.   The Black population in metropolitan Atlanta is sufficiently numerous

and geographically compact to allow for the creation of an additional compact

majority-Black congressional district anchored in Cobb and Fulton Counties (District

6 in the Illustrative Plan).

       11.   The additional congressional district can be merged into the enacted

2021 Plan without making changes to six of the 14 districts: CD 1, CD 2, CD 5, CD 7,

CD 8, and CD 12 are unaffected.




2 This is the first Gingles precondition. See Thornburg v. Gingles, 478 U.S. 30
(1986).


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      C.     Organization of Declaration

      12.   The remainder of this declaration is organized as follows: Section II

reviews state-level and Metro Atlanta 1990–2020 demographics, as defined by the

29-county Atlanta-Sandy Springs-Alpharetta MSA.3 Section III provides maps and

population statistics for the 2012 Benchmark Plan and the enacted 2021 Plan.

Section IV presents the Illustrative Plan that I have prepared, based on the 2020

Census, which includes an additional majority-Black district in Metro Atlanta.

Section V contains a concluding note about projected Black population growth in

Metro Atlanta over the next 10 years.




3 In this declaration, Metro Atlanta refers to the 29-county Atlanta-Sandy Springs-
Alpharetta Metropolitan Statistical Area (“MSA”). It includes the Counties of
Barrow, Bartow, Butts, Carroll, Cherokee, Clayton, Cobb, Coweta, Dawson,
DeKalb, Douglas, Fayette, Forsyth, Fulton, Gwinnett, Haralson, Heard, Henry,
Jasper, Lamar, Meriwether, Morgan, Newton, Paulding, Pickens, Pike, Rockdale,
Spalding, and Walton. MSA is an abbreviation for “metropolitan statistical area.”
Metropolitan statistical areas are defined by the U.S. Office of Management and
Budget and reported in historical and current census data produced by the Census
Bureau. As the Census Bureau has explained, “[m]etropolitan statistical areas consist
of the county or counties (or equivalent entities) associated with at least one
urbanized area of at least 50,000 population, plus adjacent counties having a high
degree of social and economic integration with the core as measured through
commuting ties.” Source: https://www.census.gov/programs-surveys/metro-micro/
about.html.

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II.   DEMOGRAPHIC PROFILE

      A.    Georgia: 2010 to 2020

      13.   According to the 2020 Census, Georgia has a total population of

10,711,908 persons—up by 1.02 million since 2010.




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       14.    Figure 1 reveals that Georgia’s population growth since 2010 can be

attributed entirely to gains in the overall minority population. Between 2010 and

2020, nearly half (47.26%) of the state’s population gain is attributed to Black

population growth.

                                 Figure 1
   Georgia: 2010 Census to 2020 Census Population by Race and Ethnicity
                                                                  2010–2020 2010–2020
                          2010               2020
                                   Percent            Percent       Change    Change
                        Population         Population
                                                                   (Persons) (Percent)
     Total Population   9,687,653 100.00% 10,711,908 100.00% 1,024,255        10.57%
       NH White*        5,413,920 55.88% 5,362,156 50.06%          -51,764    -0.96%
     Total Minority
                        4,273,733 44.12% 5,349,752 49.94%         1,076,019   25.18%
      Population
         Latino          853,689      8.81%   1,123,457 10.49%     269,768    31.60%
       NH Black*        2,910,800 30.05% 3,278,119 30.60%          367,319    12.62%
       NH Asian*         311,692      3.22%   475,680     4.44%    163,988    52.61%
    NH Hawaiian and
                             5,152    0.05%       6,101   0.06%      949      18.42%
     Pacific Islander
  NH American Indian
                             21,279   0.22%    20,375     0.19%     -904      -4.25%
  and Alaska Native*
       NH Other*             19,141   0.20%    55,887     0.52%     36,746    191.98%
    NH Two or More
                         151,980      1.57%   390,133     3.65%    238,153    156.70%
        Races*
        SR Black        2,950,435 30.46% 3,320,513 31.00%          370,078    12.54%
        AP Black        3,054,098 31.53% 3,538,146 33.03%          484,048    15.85%

*Single race, non-Hispanic




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      15.    Between 2010 and 2020, the Black population in Georgia

increased by 484,048 persons. By contrast, during the same decade, the non-

Hispanic White (“NH White”) population fell by 51,764 persons.

      16.    Georgia’s Black population, as a share of the overall statewide

population, increased between 2010 and 2020, from 31.53% in 2010 to

33.03% in 2020.

      17.    Non-Hispanic Whites are a razor-thin majority of the state’s

2020 population (50.06%). Black Georgians account for one-third (33.03%)

of the population and comprise the largest minority population, followed by

Latinos (10.05%).




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      B.    Georgia: Voting Age and Citizen Voting Age

      18.    As shown in Figure 2, African Americans in Georgia constitute

a slightly smaller percentage of the voting age population (“VAP”) than the

total population. According to the 2020 Census, Georgia has a total VAP of

8,220,274 persons, of whom 2,607,986 (31.73%) are AP Black. The NH White

VAP is 4,342,333 (52.82%).

                                 Figure 2
      Georgia: 2020 Voting Age and 2019 Estimated Citizen Voting Age
                    Populations by Race and Ethnicity4
                                                 2020 VAP 2019 CVAP
                                     2020 VAP
                                                  Percent   Percent
                      Total          8,220,274   100.00%    100.00%
                   NH White          4,342,333    52.82%     57.6%
                 Total Minority      3,877,941    47.18%     42.4%
                     Latino           742,918     9.04%      5.0%
               SR Black (Including
                                     2,488,419    30.27%     32.9%
                Black Hispanic)
               AP Black (Including
                                     2,607,986    31.73%     33.8%
                Black Hispanic)




4
  To prepare this table, I relied on the PL 94-171 redistricting file issued by the
Census Bureau, Table S2901 of the 1-Year 2019 American Community Survey
(“ACS”)     (available      at    https://data.census.gov/cedsci/table?q=S2901&g=
0400000US13&tid=ACSST1Y2019.S2901), and the Public Use Microdata Sample
of the 1-Year 2019 ACS (available at https://data.census.gov/mdat/#/search?ds=
ACSPUMS1Y2019&vv=AGEP(18:99)&cv=RACBLK(1)&rv=ucgid,CIT(1,2,3,4)
&wt=PWGTP&g=0400000US13).


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      19.    The rightmost column in Figure 2 reveals that both the Black and

NH White populations comprise a higher percentage of the citizen voting age

population (“CVAP”) than the corresponding voting age population, owing to

higher non-citizenship rates among other minority populations.

      20.    According to estimates from the 1-year 2019 American Community

Survey (“ACS”), African Americans represent 33.8% of the statewide CVAP—about

two percentage points higher than the 2020 AP Black VAP. The NH White CVAP is

57.6%—nearly five percentage points higher than NH White VAP in the 2020

Census.5




                               [Intentionally Blank]




5
  Due to the COVID-19 pandemic, the 1-Year 2020 ACS results will not be
published.   Source:      https://www.census.gov/newsroom/press-releases/2021/
changes-2020-acs-1-year.html.


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         C.    Black Population as a Component of Total Population: 1990 to 2020

               1.     Georgia

         21.   As shown in Figure 3, Georgia’s Black population has increased

  significantly in absolute and percentage terms since 1990, from about 27% in 1990

  to 33% in 2020. Over the same time period, the percentage of the population

  identifying as NH White has dropped from 70% to 50%.

                                    Figure 3
      Georgia: 1990 Census to 2020 Census Population by Race and Ethnicity
                 1990               2000               2010               2020
                          Percent            Percent            Percent            Percent
               Population         Population         Population         Population
Total Population 6,478,216 100.00% 8,186,453 100.00% 9,687,653 100.0% 10,711,908 100.00%
  NH White     4,543,425 70.13% 5,128,661 62.65% 5,413,920 55.88% 5,362,156 50.06%
Total Minority
               1,934,791 29.87% 3,057,792 37.35% 4,273,733 44.12% 5,349,752 49.94%
 Population
    Latino      108,922   1.68%    435,227    5.32%   853,689   8.81%   1,123,457 10.49%
   Black*      1,746,565 26.96% 2,393,425 29.24% 3,054,098 31.53% 3,538,146 33.03%

  *SR Black in 1990; AP Black 2000–2020

         22.   Since 1990, the Black population has more than doubled: from 1.75

  million to 3.54 million, an increase that is the equivalent of the populations of more

  than two congressional districts. The NH White population has also increased, but at

  a much slower rate: from 4.54 million to 5.36 million, amounting to an increase of

  only about 18% over the three-decade period.




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                 2.     Metro Atlanta

         23.     Exhibit C is a Census Bureau-produced map showing boundaries for

  the Atlanta MSA, along with other metropolitan and micropolitan areas in Georgia.

         24.     Figure 4 demonstrates that the key driver of population growth in

  Georgia this century has been Metro Atlanta, led in no small measure by a large

  increase in the Black population.

                                   Figure 4
  Metro Atlanta: 1990 Census to 2020 Census Population by Race and Ethnicity
                   1990               2000               2010               2020
                            Percent            Percent            Percent            Percent
                 Population         Population         Population         Population
Total Population 3,082,308 100.00% 4,263,438 100.00% 5,286,728 100.00% 6,089,815 100.00%
  NH White       2,190,859 71.08% 2,576,109 60.42% 2,684,571 50.78% 2,661,835 43.71%
Total Minority
                  891,449   28.92% 1,687,329 39.58% 2,602,157 49.22% 3,427,980 56.29%
 Population
    Latino         58,917   1.91%    270,655     6.35%   547,894   10.36%   730,470   11.99%
   Black*         779,134   25.28% 1,248,809 29.29% 1,776,888 33.61% 2,186,815 35.91%

         *SR Black in 1990; AP Black 2000–2020

         25.     According to the 1990 Census, the area that today comprises the 29-

  county MSA was 25.28% Black, increasing to 35.91% in 2020. Since 2000, the Black

  population in Metro Atlanta has climbed by 75%: from 1.25 million in 2010 to 2.19

  million in 2020.




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      26.      According to the 2020 Census, 56.29% of Metro Atlanta residents are

non-White—a major shift compared to the previous decade. In 2010, NH Whites

represent 50.78% of the population.

      27.      According to the 2020 Census, the 11 core counties comprising the

Atlanta Regional Commission (“ARC”) service area6 account for more than half

(54.7%) of the statewide Black population. After expanding the region to include the

29 counties in the Atlanta MSA (including the 11 ARC counties), Metro Atlanta

encompasses 61.81% of the state’s Black population.

      28.      Exhibit D breaks down Black population changes from 2010 to 2020

by county for each of the 29 counties in Metro Atlanta.




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6 Source:   https://atlantaregional.org/atlanta-region/about-the-atlanta-region.


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       29.    Figure 5 shows that the population gain in Metro Atlanta between 2010

and 2020 amounted to 803,087 persons—greater than the population of one of the

state’s congressional districts—with about half of the gain coming from an increase

in the Black population, which increased by 409,927 (or 23.07%). Meanwhile, over

the same decade, the NH White population in Metro Atlanta fell by 22,736 persons.


                                 Figure 5
Metro Atlanta: 2010 Census to 2020 Census Population by Race and Ethnicity
                                                                  2010–2020 2010–2020
                          2010                   2020
                                      Percent             Percent Change      Change
                         Number                 Number
                                                                   (Persons) (Percent)
     Total Population   5,286,728 100.00% 6,089,815       100%     803,087    15.19%
       NH White*        2,684,571 50.78% 2,661,835        43.7%    -22,736    -0.85%
     Total Minority
                        2,602,157 49.22% 3,427,980 56.3%           825,823    31.74%
      Population
         Latino          547,894      10.36%    730,470   12.0%    182,576    33.32%
       NH Black*         1,684178 31.86% 2,019,208 33.16%          335,030    19.89%
       NH Asian*         252,616      4.78%     397,009   6.52%    144,393    57.16%
    NH Hawaiian and
                             2,075    0.04%      2,386    0.04%      311      14.99%
    Pacific Islander*
  NH American Indian
                             10,779   0.20%      10,562   0.17%     -217      -2.01%
  and Alaska Native*
       NH Other*             13,749   0.26%      39,254   0.64%    25,505    185.50%
    NH Two or More
                         126,322      2.39%     229,091   4.25%    102,769    81.35%
        Races*
        SR Black        1,712,121 32.39% 2,048,212 31.00%          336,091    19.63%
        AP Black        1,776,888 33.61% 2,186,815 33.03%          409,927    23.07%

*Single race, non-Hispanic




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      30.   As shown in Figure 6, according to the 2020 Census, the 29-county

MSA has a total VAP of 4,654,322 persons, of whom 1,622,469 (34.86%) are AP

Black. The NH White VAP is 4,342,333 (52.1%).

                                  Figure 6
    Metro Atlanta: 2020 Voting Age and 2019 Estimated Citizen Voting Age
                     Populations by Race and Ethnicity7
                                                            2015–2019
                                                 2020 VAP
                                     2020 VAP                 CVAP
                                                  Percent
                                                             Percent
                      Total          4,654,322   100.00%     100.00%
                   NH White          2,227,679   47.86%       52.1%
                 Total Minority      2,426,643   52.14%       47.9%
                     Latino           487,286     10.47%       5.5%
               SR Black (Including
                                     1,541,370    33.12%     36.40%
                 Black Hispanic)
               AP Black (Including
                                     1,622,469    34.86%       N/A
                Black Hispanic)

      31.   According to estimates from the 5-Year 2015–2019 ACS, African

Americans represent 36.4% of the CVAP in Metro Atlanta—over three percentage

points higher than the 2020 AP Black VAP. The NH White CVAP is 52.1%, over

four percentage points higher than NH White VAP in the 2020 Census.

      32.   Given the dramatic increase in Georgia’s Black population in Metro

Atlanta since 2010, the obvious focal point for determining whether an additional

majority-Black district can be created in the state is indeed Metro Atlanta. And, as

7
  To prepare this table, I relied on the PL 94-171 redistricting file issued by the
Census Bureau and the 5-Year 2015-2019 ACS. The Census Bureau does not publish
a citizenship estimate for the AP Black CVAP at the MSA level.


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shown below, a new majority-Black district can readily be created in and around

Cobb and Fulton Counties.

III.   2012 BENCHMARK PLAN AND 2021 PLAN

       A.    2012 Benchmark Plan

       33.   Exhibit E contains a map packet depicting the 2012 Benchmark Plan,

with corresponding 2010 Census statistics, prepared by the Georgia Legislative &

Congressional Reapportionment Office (“GLCRO”).

       34.   Exhibit F is a table that I prepared, reporting 2020 Census population

statistics for the 2012 Plan, as well as CVAP estimates from the Census Bureau’s

2015–2019 Special Tabulation.8

       B.    2021 Plan

       35.   Exhibit G contains a map packet depicting the recently enacted 2021

Plan, with corresponding 2020 Census statistics, prepared by GLCRO.

       36.   Exhibit H is a table that I prepared reporting 2020 Census population

statistics for the 2021 Plan, as well as CVAP estimates from the Census Bureau’s

2015–2019 Special Tabulation.




8    Source:    https://www.census.gov/programs-surveys/decennial-census/about/
voting-rights/cvap.html.


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      37.    Additional 2021 Plan information regarding compactness scores, county

splits, municipal splits, and VTD9 splits is reported for comparison with the

Illustrative Plan described in the next section.

      C.     Comparison of 2012 Benchmark Plan to 2021 Plan

      38.    The 2021 Plan reduces CD 6’s BVAP from 14.6% under the 2012

Benchmark Plan to 9.9%.

      39.    This decrease occurred in an area that has experienced significant

growth in the Black population since the 2010 Census. Notably, the area is adjacent

to two majority-Black districts (CD 4 and CD 13) with Black citizen voting age

populations (“BCVAP”) in the 60% range under both the Benchmark 2012 Plan and

the 2021 Plan.




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9 “VTD” is a Census Bureau term meaning “voting tabulation district.” VTDs
generally correspond to precincts. Statewide, there are 2,698 2020 VTDs in Georgia.

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      40.       As shown in Figure 7, based on the 2020 Census, the combined Black

population in Cobb, Fulton, Douglas, and Fayette Counties is 807,076 persons, more

than necessary to constitute an entire congressional district—or, put differently and

to the point, a majority in two congressional districts.

                                Figure 7
    Four-County Area: 2010 Census to 2020 Census Population and Black
                           Population Changes
                                                                             Black
                                                              2010–2020    Population
                                                 2010–2020
                         2020       2020 Black                  Black       Change
                                                 Population
                       Population   Population                Population   Percentage
                                                  Change
                                                               Change       of Total
                                                                            Change
       Cobb              766,149     223,116       78,071       42,151      53.99%
      Douglas            144,237      74,260       11,834       20,007      169.06%
      Fayette            119,194      32,076       12,627       9,578       75.85%
       Fulton           1,066,710    477,624      146,129       60,732      41.56%
       Total            2,096,290    807,076      248,661      132,468      53.27%

      41.       More than half (53.27%) of the total population increase in the four

counties since 2010 can be attributed to the increase in the Black population. Building

off this growth, the Illustrative Plan described in the next section shows how an

additional majority-Black congressional district can be drawn in the area

encompassing Cobb, Fulton, Douglas, and Fayette Counties—with no meaningful

impact on compactness or splits of political subdivisions (i.e., counties, VTDs, and

municipalities).


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IV.   ILLUSTRATIVE PLAN

      A.     Traditional Redistricting Principles

      42.    The Illustrative Plan demonstrates that the Black population is

sufficiently numerous and geographically compact to allow for the creation of an

additional majority-Black congressional district in Metro Atlanta.

      43.    The Illustrative Plan adheres to traditional redistricting principles,

including population equality, compactness, contiguity, respect for political

subdivision boundaries, respect for communities of interest, and the non-dilution of

minority voting strength.

      44.    The Illustrative Plan is drawn to follow, to the extent possible, county

boundaries. Where counties are split to comply with one-person, one-vote

requirements, I have generally used whole 2020 Census VTDs as sub-county

components. Where VTDs are split, I have followed census block boundaries that are

aligned with roads, natural features, municipal boundaries, or census block groups.

      45.    In drafting the Illustrative Plan, I sought to minimize changes to the

2021 Plan, while abiding by all key traditional redistricting principles and ensuring

that the plan does not dilute minority voting strength.




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      46.   The result leaves intact six congressional districts in the enacted plan,

modifying eight districts in the 2021 Plan to create an additional majority-Black

district in and around Cobb and Fulton Counties.




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      B.     Illustrative Plan

      47.    The map in Figure 8 depicts Metro Atlanta with an overlay of the

Illustrative Plan. District 6 is the new majority-Black district (50.23% BVAP and

50.69% NH BCVAP).

      48.    Exhibit I-1 is a higher resolution of the Figure 8 map. Exhibit I-2 is a

statewide map that displays all 14 districts under the Illustrative Plan.

                                       Figure 8
                          Illustrative Plan: Metro Atlanta




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      49.   Exhibit J is a table reporting 2020 Census population statistics for the

Illustrative Plan, as well as CVAP estimates from the Census Bureau’s 2015–2019

Special Tabulation.

      50.   Exhibit K is a set of maps zooming in on each of the eight districts that

would change under the Illustrative Plan.

      51.   Notably, the Illustrative Plan does not reduce the number of majority-

Black districts in the 2021 Plan. For reference, Figure 9 compares BVAP and

BCVAP under the Illustrative Plan and the 2021 Plan for the eight districts that

change. (District 6 is the new majority-Black district, with 50.23% BVAP and

50.69% NH BCVAP.)

                               Figure 9
       BVAP and BCVAP Comparison in the Eight Modified Districts:
                   Illustrative Plan and 2021 Plan
                          Illustrative Plan            2021 Plan
                              %          % NH       %         % NH
               District    BVAP         BCVAP     BVAP       BCVAP
                 03        20.92%       20.40%   23.32%      22.82%
                 04       52.40%        55.48%   54.52%      58.04%
                 06       50.23%        50.69%    9.91%      10.00%
                 09        11.66%       11.66%   10.42%      10.38%
                 10        14.31%       15.38%   22.60%      22.56%
                 11        13.27%       13.30%   17.95%      18.09%
                 13       51.40%        50.05%   66.75%      66.88%
                 14        5.17%         5.14%   14.28%      13.38%




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      C.     Online Interactive Map

      52.    The Illustrative Plan can also be viewed online in detail on the Dave’s

Redistricting website at the following link: https://davesredistricting.org/join/

a19bc17b-e8d2-4471-814e-e9f57d1f568c.

      D.     Supplemental Plan Information and Comparisons

      53.    Compactness scores for the Illustrative Plan are about the same as the

2021 Plan—and within the norm.10 Exhibit L-1 contains compactness scores

generated by Maptitude for the eight modified districts in the Illustrative Plan.

Corresponding scores for the eight districts under the 2021 Plan are in Exhibit L-2.




                               [Intentionally Blank]




10See, for example, the comparison of compactness scores across all states by the
geospatial firm Azavea in their white paper titled Redrawing the Map on
Redistricting: 2012 Addendum (available at https://2rct3i2488gxf9jvb1lqhek9-
wpengine.netdna-ssl.com/wp-content/uploads/2019/08/Azavea_Redistricting-
White-Paper-Addendum-2012_sm.pdf).

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      54.     Figure 10 (condensed from the Exhibit L series) is a summary, reporting

the mean averages and low scores for the Reock11 and Polsby-Popper12 metrics under

both the Illustrative Plan and the 2021 Plan (isolating the eight modified districts).

                                    Figure 10
            Compactness Comparison for the Eight Modified Districts:
                        Illustrative Plan and 2021 Plan
                                                           Polsby-
                                            Reock
                                                           Popper
                                         Mean    Low     Mean Low
                     Illustrative Plan    .40    .23      .23    .16
                         2021 Plan        .43    .25      .25    .16




                                 [Intentionally Blank]




11 As the Maptitude for Redistricting software documentation (authored by the
Caliper Corporation) explains, “[t]he Reock test is an area-based measure that
compares each district to a circle, which is considered to be the most compact shape
possible. For each district, the Reock test computes the ratio of the area of the district
to the area of the minimum enclosing circle for the district. The measure is always
between 0 and 1, with 1 being the most compact. The Reock test computes one
number for each district and the minimum, maximum, mean and standard deviation
for the plan.”
12 As the Maptitude for Redistricting software documentation (authored by the
Caliper Corporation) explains, “[t]he Polsby-Popper test computes the ratio of the
district area to the area of a circle with the same perimeter: 4pArea/(Perimeter2).
The measure is always between 0 and 1, with 1 being the most compact. The Polsby-
Popper test computes one number for each district and the minimum, maximum,
mean and standard deviation for the plan.”

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        55.    County, VTD, and municipal splits are about the same under both the

Illustrative Plan and the 2021 Plan. Figure 11 summarizes county and 2020 VTD

splits under the Illustrative Plan and the 2021 Plan (again isolating the eight modified

districts).

                                    Figure 11
     County, VTD, and Municipal Splits Comparison for the Eight Modified
                  Districts: Illustrative Plan and 2021 Plan13
                                           Unique
                                                         Municipal      2020 VTD
                         County Splits     County-
                                                           Splits         Splits
                          (Populated)      District
                                                        (Populated)    (Populated)
                                         Combinations
     Illustrative Plan        13             14             79              47
         2021 Plan            12             19             90              44

        56.    Exhibit M-1 contains a county and VTD split report generated by

Maptitude for the eight modified districts in the Illustrative Plan. Exhibit M-2 is a

corresponding split report for the 2021 Plan.

        57.    Exhibit N-1 (in a different format) identifies municipal splits for the

eight modified districts under the Illustrative Plan. Exhibit N-2 presents the same

information for the 2021 Plan.




13 The Maptitude-generated reports in the Exhibit M series count splits of
unpopulated areas. Figure 11 removes unpopulated splits in all but the column
counting unique county/district combinations.

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      58.      In sum, while the Illustrative Plan splits one more county than the 2021

Plan, it splits 11 fewer municipalities.

V.    CONCLUSION

      59.      The Black population in metropolitan Atlanta is sufficiently numerous

and geographically compact to allow for the creation of an additional compact

majority-Black congressional district anchored in Cobb and Fulton Counties, without

reducing the number of majority-Black districts in the 2021 Plan.

      60.      The Illustrative Plan would add an additional majority-Black district

that complies with traditional redistricting principles in Metro Atlanta, where the

Black population has increased by 938,006 persons since 2000—accounting for

75.1% of the statewide Black population increase this century—and where, according

to the Governor’s Office of Planning and Budget, the Black population will continue

to increase in the coming decade.14

                                           ###




14 Source:   https://opb.georgia.gov/census-data/population-projections.

                                           26
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      I reserve the right to continue to supplement my report in light of additional

facts, testimony, and/or materials that might come to light.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on: January 12, 2022


                                              ____________________________
                                              WILLIAM S. COOPER




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   DECLARATION OF WILLIAM S. COOPER: EXHIBIT A
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                                                                                     October 31, 2021

   William S. Cooper
   P.O. Box 16066
   Bristol, VA 24209
   276-669-8567
   bcooper@msn.com


Summary of Redistricting Work


        I have a B.A. in Economics from Davidson College in Davidson, North Carolina.

        Since 1986, I have prepared proposed redistricting maps of approximately 750

jurisdictions for Section 2 litigation, Section 5 comment letters, and for use in other efforts

to promote compliance with the Voting Rights Act of 1965. I have analyzed and prepared

election plans in over 100 of these jurisdictions for two or more of the decennial censuses –

either as part of concurrent legislative reapportionments or, retrospectively, in relation to

litigation involving many of the cases listed below.

        From 1986 to 2020, I have prepared election plans for Section 2 litigation in

Alabama, Connecticut, Florida, Georgia, Louisiana, Maryland, Mississippi, Missouri,

Montana, Nebraska, New Jersey, New York, North Carolina, Ohio, Pennsylvania, South

Carolina, South Dakota, Tennessee, Texas, Utah, Virginia, Washington, and Wyoming.

Post-2010 Redistricting Experience

        Since the release of the 2010 Census in February 2011, I have developed statewide

legislative plans on behalf of clients in nine states (Alabama, Connecticut, Florida, Georgia,

Kentucky, Mississippi, South Carolina, Texas, and Virginia), as well as over 150 local

redistricting plans in approximately 30 states – primarily for groups working to protect

minority voting rights. In addition, I have prepared congressional plans for clients in eight

states (Alabama, Florida, Georgia, Louisiana, Maryland, Ohio, Pennsylvania, South

Carolina, and Virginia).
                                                1
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        In March 2011, I was retained by the Sussex County, Virginia Board of

Supervisors and the Bolivar County, Mississippi Board of Supervisors to draft new

district plans based on the 2010 Census. In the summer of 2011, both counties received

Section 5 preclearance from the U.S. Department of Justice (DOJ).

        Also in 2011, I was retained by way of a subcontract with Olmedillo X5 LLC to

assist with redistricting for the Miami-Dade County, Florida Board of Commissioners and

the Miami-Dade, Florida School Board. Final plans were adopted in late 2011 following

public hearings.

        In the fall of 2011, I was retained by the City of Grenada, Mississippi to provide

redistricting services. The ward plan I developed received DOJ preclearance in March 2012.

        In 2012 and 2013, I served as a redistricting consultant to the Tunica County,

Mississippi Board of Supervisors and the Claiborne County, Mississippi Board of

Supervisors.

        In Montes v. City of Yakima (E.D. Wash. Feb. 17, 2015) the court adopted, as a

remedy for the Voting Rights Act Section 2 violation, a seven single-member district plan

that I developed for the Latino plaintiffs. I served as the expert for the Plaintiffs in the

liability and remedy phases of the case.

        In Pope v. Albany County (N.D.N.Y. Mar. 24, 2015), the court approved, as a

remedy for a Section 2 violation, a plan drawn by the defendants, creating a new Black-

majority district. I served as the expert for the Plaintiffs in the liability and remedy phases

of the case.

        In 2016, two redistricting plans that I developed on behalf of the plaintiffs for

consent decrees in Section 2 lawsuits in Georgia were adopted (NAACP v. Fayette County,

Georgia and NAACP v. Emanuel County, Georgia).
                                                2
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        In 2016, two federal courts granted summary judgment to the plaintiffs based in part

on my Gingles 1 testimony: Navajo Nation v. San Juan County, Utah (C.D. Utah 2016) and

NAACP v. Ferguson-Florissant School District, Missouri (E. D. Mo. August 22, 2016).

        Also in 2016, based in part on my analysis, the City of Pasco, Washington admitted

to a Section 2 violation. As a result, in Glatt v. City of Pasco (E.D. Wash. Jan. 27, 2017), the

court ordered a plan that created three Latino majority single-member districts in a 6 district,

1 at-large plan.

        In 2018, I served as the redistricting consultant to the Governor Wolf interveners at

the remedial stage of League of Women Voters, et al. v. Commonwealth of Pennsylvania.

        In August 2018, the Wenatchee City Council adopted a hybrid election plan that I

developed – five single-member districts with two members at-large. The Wenatchee

election plan is the first plan adopted under the Washington Voting Rights Acts of 2018.

        In February 2019, a federal court ruled in favor of the plaintiffs in a Section 2 case

regarding Senate District 22 in Mississippi, based in part on my Gingles 1 testimony in

Thomas v. Bryant (S.D. Ms. Feb 16, 2019).

        In the summer of 2019, I developed redistricting plans for the Grand County (Utah)

Change of Form of Government Study Committee.

        In the fall of 2019, a redistricting plan I developed for a consent decree involving

the Jefferson County, Alabama Board of Education was adopted Traci Jones, et al. v.

Jefferson County Board of Education, et al.

        In May 2020, a federal court ruled in favor of the plaintiffs in a Section 2 case in

NAACP et al. v. East Ramapo Central School District, NY, based in part on my Gingles 1

testimony. In October 2020, the federal court adopted a consent decree plan I developed

for elections to be held in February 2021.
                                               3
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       In May and June of 2020, I served as a consultant to the City of Quincy, Florida –

the Defendant in a Section 2 lawsuit filed by two Anglo voters (Baroody v. City of

Quincy). The federal court for the Northern District of Florida ruled in favor of the

Defendants. The Plaintiffs voluntarily dismissed the case.

       In the summer of 2020, I provided technical redistricting assistance to the City of

Chestertown, Maryland.

       I am currently a redistricting consultant and expert for the plaintiffs in Jayla Allen v.

Waller County, Texas. I testified remotely at trial in October 2020.

       Since 2011, I have served as a redistricting and demographic consultant to the

Massachusetts-based Prison Policy Initiative for a nationwide project to end prison-based

gerrymandering. I have analyzed proposed and adopted election plans in about 25 states as

part of my work.

       In 2018 (Utah) and again in 2020 (Arizona), I have provided technical assistance to

the Rural Utah Project for voter registration efforts on the Navajo Nation Reservation.

Post-2010 Demographics Experience

       My trial testimony in Section 2 lawsuits usually includes presentations of U.S.

Census data with charts, tables, and/or maps to demonstrate socioeconomic disparities

between non-Hispanic Whites and racial or ethnic minorities.

       I served as a demographic expert for plaintiffs in four state-level voting cases

related to the Covid-19 pandemic (South Carolina, Alabama, and Louisiana) and state

court in North Carolina.

       I have also served as an expert witness on demographics in non-voting trials. For

example, in an April 2017 opinion in Stout v. Jefferson County Board of Education (Case

no.2:65-cv-00396-MHH), a school desegregation case involving the City of Gardendale,
                                               4
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Ala., the court made extensive reference to my testimony.

        I provide technical demographic and mapping assistance to the Food Research

and Action Center (FRAC) in Washington D.C and their constituent organizations around

the country. Most of my work with FRAC involves the Summer Food Program and Child

and Adult Care Food Program. Both programs provide nutritional assistance to school-

age children who are eligible for free and reduced price meals. As part of this project, I

developed an online interactive map to determine site eligibility for the two programs that

has been in continuous use by community organizations and school districts around the

country since 2003. The map is updated annually with new data from a Special

Tabulation of the American Community Survey prepared by the U.S. Census Bureau for

the Food and Nutrition Service of the U.S. Department of Agriculture.

Historical Redistricting Experience

        In the 1980s and 1990s, I developed voting plans in about 400 state and local

jurisdictions – primarily in the South and Rocky Mountain West. During the 2000s and

2010s, I prepared draft election plans involving about 350 state and local jurisdictions in 25

states. Most of these plans were prepared at the request of local citizens’ groups, national

organizations such as the NAACP, tribal governments, and for Section 2 or Section 5

litigation.

        Election plans I developed for governments in two counties – Sussex County,

Virginia and Webster County, Mississippi – were adopted and precleared in 2002 by the

U.S. Department of Justice. A ward plan I prepared for the City of Grenada, Mississippi was

precleared in August 2005. A county supervisors’ plan I produced for Bolivar County,

Mississippi was precleared in January 2006.

        In August 2005, a federal court ordered the State of South Dakota to remedy a
                                               5
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Section 2 voting rights violation and adopt a state legislative plan I developed (Bone Shirt v.

Hazeltine).

        A county council plan I developed for Native American plaintiffs in a Section 2

lawsuit (Blackmoon v. Charles Mix County) was adopted by Charles Mix County, South

Dakota in November 2005. A plan I drafted for Latino plaintiffs in Bethlehem, Pennsylvania

(Pennsylvania Statewide Latino Coalition v. Bethlehem Area School District) was adopted

in March 2009. Plans I developed for minority plaintiffs in Columbus County, North

Carolina and Montezuma- Cortez School District in Colorado were adopted in 2009.

       Since 1986, I have testified at trial as an expert witness on redistricting and

demographics in federal courts in the following voting rights cases (approximate most

recent testimony dates are in parentheses). I also filed declarations and was deposed in

most of these cases.

Alabama
Chestnut v Merrill (2019)
Alabama State Conference of the NAACP v. Alabama (2018)
Alabama Legislative Black Caucus et al. v. Alabama et al. (2013)

Colorado
Cuthair v. Montezuma-Cortez School Board (1997)

Florida
Baroody v. City of Quincy (2020)

Georgia
Cofield v. City of LaGrange (1996)
Love v. Deal (1995)
Askew v. City of Rome (1995)
Woodard v. Lumber City (1989)

Louisiana
Terrebonne Parish NAACP v. Jindal, et al. (2017)
Wilson v. Town of St. Francisville (1996)
Reno v. Bossier Parish (1995)
Knight v. McKeithen (1994)

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Maryland
Cane v. Worcester County (1994

Mississippi
Thomas v. Bryant (2019)
Fairley v. Hattiesburg (2014)
Boddie v. Cleveland School District (2010)
Fairley v. Hattiesburg (2008)
Boddie v. Cleveland (2003)
Jamison v. City of Tupelo (2006)
Smith v. Clark (2002)
NAACP v. Fordice (1999)
Addy v Newton County (1995)
Ewing v. Monroe County (1995)
Gunn v. Chickasaw County (1995)
Nichols v. Okolona (1995)

Montana
Old Person v. Brown (on remand) (2001)
Old Person v. Cooney (1998)

Missouri
Missouri NAACP v. Ferguson-Florissant School District (2016)

Nebraska
Stabler v. Thurston County (1995)

New York
NAACP v. East Ramapo Central School District (2020)
Pope v. County of Albany (2015)
Arbor Hills Concerned Citizens v. Albany County (2003)

Ohio
A. Philip Randolph Institute, et al. v. Ryan (2019)

South Carolina
Smith v. Beasley (1996)

South Dakota
Bone Shirt v. Hazeltine (2004)
Cottier v. City of Martin (2004)

Tennessee
Cousins v. McWherter (1994)
Rural West Tennessee African American Affairs Council v. McWherter (1993)



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Texas
Jayla Allen v. Waller County, Texas

Utah
Navajo Nation v. San Juan County (2017),brief testimony –11 declarations, 2 depositions

Virginia
Smith v. Brunswick County (1991)
Henderson v. Richmond County (1988)
McDaniel v. Mehfoud (1988)
White v. Daniel (1989)

Wyoming
Large v. Fremont County (2007)
         In addition, I have filed expert declarations or been deposed in the following

cases that did not require trial testimony. The dates listed indicate the deposition date or

date of last declaration or supplemental declaration:


Alabama
People First of Alabama v. Merrill (2020), Covid-19 demographics only
Alabama State NAACP v. City of Pleasant Grove (2019)
James v. Jefferson County Board of Education (2019)
Voketz v. City of Decatur (2018)

Arkansas
Mays v. Thurston (2020)-- Covid-19 demographics only)

Connecticut
NAACP v. Merrill (2020)

Florida
Florida State Conference of the NAACP v. Lee, et al, (2021)
Calvin v. Jefferson County (2016)
Thompson v. Glades County (2001)
Johnson v. DeSoto County (1999)
Burton v. City of Belle Glade (1997)

Georgia
Dwight v. Kemp (2018)
Georgia NAACP et al. v. Gwinnett County, GA (2018
Georgia State Conference NAACP et al v. Georgia (2018)
Georgia State Conference NAACP, et al. v. Fayette County (2015)
Knighton v. Dougherty County (2002)
Johnson v. Miller (1998)
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Jones v. Cook County (1993)

Kentucky
Herbert v. Kentucky State Board of Elections (2013)

Louisiana
Power Coalition for Equity and Justice v. Edwards (2020), Covid-19 demographics only
Johnson v. Ardoin (2019
NAACP v. St. Landry Parish Council (2005)
Prejean v. Foster (1998)
Rodney v. McKeithen (1993)

Maryland
Benisek v. Lamone (2017)
Fletcher v. Lamone (2011)

Mississippi
Partee v. Coahoma County (2015)
Figgs v. Quitman County (2015)
West v. Natchez (2015)
Williams v. Bolivar County (2005)
Houston v. Lafayette County (2002)
Clark v. Calhoun County (on remand)(1993)
Teague v. Attala County (on remand)(1993)
Wilson v. Clarksdale (1992)
Stanfield v. Lee County(1991)

Montana
Alden v. Rosebud County (2000)

North Carolina
Lewis v. Alamance County (1991)
Gause v. Brunswick County (1992)
Webster v. Person County (1992)

Rhode Island
Davidson v. City of Cranston (2015)

South Carolina
Thomas v. Andino (2020), Covid-19 demographics only
Vander Linden v. Campbell (1996

South Dakota
Kirkie v. Buffalo County (2004
Emery v. Hunt (1999)

Tennessee
NAACP v. Frost, et al. (2003)

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Virginia
Moon v. Beyer (1990)

Washington
Glatt v. City of Pasco (2016)
Montes v. City of Yakima (2014
                                 ###




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   DECLARATION OF WILLIAM S. COOPER: EXHIBIT B
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Exhibit B – Methodology and Sources

      1.     In the preparation of this report, I analyzed population and geographic

data from the Decennial Census and the American Community Survey.

      2.     For my redistricting analysis, I used a geographic information system

(GIS) software package called Maptitude for Redistricting, developed by the

Caliper Corporation. This software is deployed by many local and state governing

bodies across the country for redistricting and other types of demographic analysis.

      3.     The geographic boundary files that I used with Maptitude are created

from the U.S. Census 1990-2020 TIGER (Topologically Integrated Geographic

Encoding and Referencing) files.

      4.     I used population data from the 1990-2020 PL 94-171 data files

published by the U.S. Census Bureau. The PL 94-171 dataset is published in

electronic format and is the complete count population file designed by the Census

Bureau for use in legislative redistricting. The file contains basic race and ethnicity

data on the total population and voting-age population found in units of Census

geography such as states, counties, municipalities, townships, reservations, school

districts, census tracts, census block groups, precincts (called voting districts or

“VTDs” by the Census Bureau) and census blocks.

      5.     I obtained 2020 block-level disaggregated citizenship (2015-19 ACS

data from the Redistricting Data Hub.


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       6.     The attorneys for the plaintiffs provided me with incumbent addresses.

       7.     For my analysis, I also relied on shapefiles for current and historical

legislative plans available on the website of the Legislative and Congressional

Reapportionment Office.

       8.     I developed the illustrative plans presented in this report using

Maptitude for Redistricting, The Maptitude for Redistricting software processes the

TIGER files to produce a map for display on a computer screen. The software also

merges demographic data from the PL 94-171 files to match the relevant decennial

Census geography.

       9.     I also reviewed and used data from the American Community Survey

(“ACS”) conducted by the Census Bureau – specifically, the 1-year 2019 ACS, the

5-year 2015-2019 ACS, and the 5-year 2015-2019 ACS Special Tabulation of

citizen population and voting age population by race and ethnicity (prepared by the

Census Bureau for the U.S. Department of Justice) and available from the link

below:

https://www.census.gov/programs-surveys/decennial-census/about/voting-rights/cvap.html

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   DECLARATION OF WILLIAM S. COOPER: EXHIBIT C
Georgia: 2020
           CaseCore  Based Statistical
                1:21-cv-05339-SCJ      Areas
                                  Document 34-1and
                                                FiledCounties
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                                                                       TENNESSEE
                                                                                                                                                                                                                                                                      N
                                                                                                                                                                         NORTH CAROLINA

                                           Chattanooga-
        Chattanooga                         Cleveland-
                                              Dalton
          Dade            Catoosa                                       Fannin                           Towns                Rabun
                                                  Dalton                                      Union                                                                                                   Combined Statistical Area
                 Walker          Whitfield        Murray                                                                                                                                              Metropolitan Statistical Area
                                                                   Gilmer
                                                                                                        White        Cornelia                                                                         Micropolitan Statistical Area
                                                                                          Lumpkin                              am    Toccoa
           Summerville               Calhoun                                                                                rsh                                                                       STATE
                                                                                                                        be           Stephens
             Chattooga                    Gordon                                                                 e    Ha                                                                              County
                                                               Pickens                                        ll
                                                                                                           vi
                                                                                  Dawson
                                                                                                         es
                                                                                                      in               Banks              Franklin         Hart
                    Rome                                                                            Ga Hall
                     Floyd                 Bartow              Cherokee            Forsyth
                                                                                                                Jefferson                  Madison              Elbert
                                                                                                                     Jackson
                   Cedartown                 Atlanta-Sandy Springs-
                          Polk                     Alpharetta                                             Barrow
                                                                                                                                   Clarke
                                                                                                                                                Athens-
                                                                   Gwinnett
                                         Paulding           Cobb                                                                                Clarke
                                                                                                                                                County
                    Haralson
                                     Atlanta--Athens-Clarke County--                                                         Oconee
                                                                                                                                             Oglethorpe              Wilkes             Lincoln
                                              Sandy Springs          Walton
                                                                               DeKalb
                                             Douglas
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                                                       Fulton                                                          Morgan                  Greene          Taliaferro
                                                                                        Ro




                           Carroll                                     Clayton
                                                                                                    Newton                                                                        McDuﬃe
                                                                                                                                                                                                  Columbia              County
                                                                                   Henry
                                                              Fayette                                                                                                    Warren
                                             Coweta                                                                                                                                                     Richmond
                           Heard
                                                                            Spalding
                                                                                               Butts
                                                                                                              Jasper               Putnam
                                                                                                                                                 Milledgeville
                                                                                                                                                                                                                                                SOUTH
                                                                                                                                                                            Glascock
                                                                                                                                                       Hancock
                                                                                                                                                                                                                                               CAROLINA
                                                                       Pike                                        Macon-                 Baldwin
                                                                                                                                                                                                                Burke
                                                                                  Lamar
                                 Troup        Meriwether                                        Monroe              Bibb                                                                Jeﬀerson
                                                                                                                   County                                         Washington
         LaGrange                                                    Thomaston                                        Jones
                                                                         Upson                             Bibb
                                                                                        Macon-Bibb County--                                    Wilkinson                                                          Jenkins            Screven
                                   Columbus                                               Warner Robins
                                                             Talbot                                                                                                         Johnson
                                         Harris                                              Crawford
                                                                                                                              Twiggs
                                                                                                                                                                                              Emanuel
                                                                               Taylor                  Peach
                                         Muscogee
                                                                                                           Warner                                          Dublin
                                                                                                           Robins
                                                                                                                                    Bleckley                Laurens
                                                                                                                                                                                  Treutlen                   Candler      Statesboro Savannah
                                                                                                                                                                                                                                 Bulloch        Eﬃngham
                 Columbus- Chattahoochee                     Marion                     Macon            Houston
                  Auburn-
                                                                                                                                                                                        ery




                                                                         Schley                                            Pulaski
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                  Opelika                                                                                                                       Dodge                                                                                      Savannah-
                                                                                                                                                                                     ntg




                                                                                                        Dooly                                                                                 Vidalia                    Evans
                                                                                                                                                                     Wheeler                                                               Hinesville-
                                                                                                                                                                                  Mo




                                                                                                                                                                                              Toombs
                                          Stewart
                                                            Webster
                                                                              Americus                                                                                                                       Tattnall
                                                                                                                                                                                                                                           Statesboro
                                                                               Sumter                                                                                                                                                                             Chatham
                                                                                                                             Wilcox
                                                                                                       Cordele                                                 Telfair
          Eufaula            Quitman
                                                                                                         Crisp                                                                                                                       Hinesville           Bryan

                                                                                  Albany                                            Ben Hill                                Jeﬀ Davis             Appling
                                             Randolph               Terrell                                                                                                                                                       Long         Liberty
                                                                                       Lee
                                                                                                                Turner                      Fitzgerald
                                  Clay

                                                                                                                                             Irwin             Douglas                    Bacon                     Jesup
                                                     Calhoun                  Dougherty               Worth                                                                                                             Wayne
  ALABAMA                                                                                                              Tifton
                                                                                                                                                                  Coﬀee
                                                                                                                                                                                                                                               McIntosh
                                                                                                                            Tift
                                                                                                                                                                                                      Pierce
                                          Early                Baker                                                                                            Atkinson
                                                                                                                                            Berrien
                                                                                                                                                                                                                                         Brunswick
                                                                               Mitchell                Moultrie                                                                    Waycross                       Brantley                 Glynn
                                                  Miller                                                Colquitt                   Cook                                                  Ware

                                                                                                                                                      Lanier
                                     Seminole                                            Thomasville                                                                                                                              St. Marys
                                                                                               Thomas                                                                    Clinch
                                                                                                                                                                                                        Charlton                    Camden
                                                    Bainbridge                 Grady
                                                                                                                                          Valdosta
                                                           Decatur                                                   Brooks                 Lowndes

                                                                                                                                                               Echols
                                                                                                                                                                                                                         Jacksonville-
                                                                                                                                                                                                                          St. Marys-
 Statistical area titles and boundary delineations
                                                                                                                                                                                                                            Palatka
    are based on March 2020 delineation files
 released by the U.S. Office of Management and
                                                                                                                       FLORIDA
 Budget. All other names and boundaries are as                                                                                                                                                                                                               20 Miles
                 of January 1, 2020.

U.S. Census Bureau, Population Division
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                                                      Metro Atlanta Black Population Change 2010-2020 by County
                                           Illustrative District 6 Counties with Highlight                                    2010 -2020 Change
                                                                                                                                                Black     % Black
County (Metro                                                                                          NH18+              Black Pop 18+ Pop    18+Pop     18+Pop
Atlanta in Bold)   2020 Pop AP Black     Latino       NH White 18+ Pop     18+ AP Black 18+ Latino     White   Pop Change Change Change        change     change
BARROW                 83505      11907         10560      55582     62195        8222          6726     43241      14138      3287    12417       2553      45.0%
BARTOW                108901      13395         10751      80159     83570        9377          6817     63759       8744      2365    10213       2083      28.6%
BUTTS                  25434       7212           803      16628     20360        5660           559     13510       1779        595    2030        564      11.1%
CARROLL               119148      24618          9586      80725     90996       17827          6129     63803       8621      3049     8593       2916      19.6%
CHEROKEE              266620      21687         32111     197867    202928       14976        20915     156155      52274      7817    47502       6222      71.1%
CLAYTON               297595     216351         42546      25902    220578      158854        27378      23396      38171     40374    36133      37475      30.9%
COBB                  766149     223116       111240      369182    591848      166141        74505     303300      78071     42151    80257      41430      33.2%
COWETA                146158      28289         11053      99421    111155       20196          7384     78073      18841      5130    18670       4501      28.7%
DAWSON                 26798         392         1605      23544     21441         249          1047     19183       4468        203    4194        146     141.7%
DEKALB                764382     407451         81471     215895    595276      314230        55506     180161      72489     22898    68519      34330      12.3%
DOUGLAS               144237      74260         16035      49877    108428       53377        10212      41416      11834     20007    13558      17860      50.3%
FAYETTE              119194       32076          9480       68144      91798       23728       6168      55102      12627     9578    13330       8373      54.5%
FORSYTH               251283       13222        25226      159407      181193       8751       16204    122017      75772      7917    59087      5460     165.9%
FULTON               1066710      477624        86302      404793      847182     368635       61914    340541     146129     60732   146287     62029      20.2%
GWINNETT              957062      287687       220460      310583      709484     202762      146659    252041     151741     86155   138870     71745      54.8%
HARALSON               29919        1541          497       26825       22854       1106         323     20617       1139        13     1307        44       4.1%
HEARD                  11412        1142          253        9589        8698        832         153      7407       -422      -101      -88       -60      -6.7%
HENRY                240712      125211         18437       86297     179973       89657      12030      69744      36790    46914    35708      38225      74.3%
JASPER                 14588        2676           684      10771       11118        1966        402      8400         688     -466     693        -306     -13.5%
LAMAR                  18500        5220           475      12344       14541        4017        323      9852         183     -611      93        -577     -12.6%
MERIWETHER             20613        7547           475      12084       16526        5845        299      9994       -1379    -1204    -256        -393      -6.3%
MORGAN                 20097        4339           712      14487       15574        3280        434     11452        2229       20    2145         160       5.1%
NEWTON               112483       55901          7164       46746      84748       40433       4561      37631      12525    13634    13663      12748      46.0%
PAULDING              168661       41296         12564     108444      123998       28164       7974     83066      26337     15231   24768      11767       71.8%
PICKENS                33216         512          1198      30122       26799         319        755     24626       3785       124    4005         81       34.0%
PIKE                   18889        1613           348      16313       14337        1254        207     12422       1020      -333    1306       -210      -14.3%
ROCKDALE              93570       57204          9540       24500      71503       41935       6089      21457       8355    16468     9202      14643      53.7%
SPALDING              67306       24522          3666       37105      52123       17511       2377      30612       3233     2894     4261       2752      18.6%
WALTON                 96673       18804          5228      68499       73098       13165       3236     53647      12905      5086   11918       4068      44.7%
29-County MSA 6,089,815 2,186,815             730,470 2,661,835 4,654,322 1,622,469          487,286 2,156,625    803,087 409,927 768,385      380,629      30.7%


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Plan Name: Congress12                          Plan Type : Congress                  User: staff                 Administrator: State




                                                      %                          %         BLACK       TOTAL         %TOTAL                 HISP. OR
DISTRICT       POPULATION         DEVIATION      DEVIATION            BLACK     BLACK      COMBO       BLACK          BLACK                  LATINO     %HISP


001             691,974                   -1           0.00%          207,711    30.02%       8,443    216,154         31.24%                  39,767    5.75%

      VAP       518,743                                               147,082    28.35%        3,105   150,187         28.95%                  25,656    4.95%


002             691,976                    1           0.00%          354,925    51.29%       6,835    361,760         52.28%                  31,577    4.56%

      VAP       516,392                                               252,570    48.91%        2,847   255,417         49.46%                  20,824    4.03%


003             691,974                   -1           0.00%          159,578    23.06%       7,034    166,612         24.08%                  34,910    5.04%

      VAP       511,518                                               112,315    21.96%        2,247   114,562         22.40%                  22,243    4.35%


004             691,976                    1           0.00%          397,911    57.50%      10,608    408,519         59.04%                  64,605    9.34%

      VAP       503,508                                               278,767    55.36%        5,240   284,007         56.41%                  41,041    8.15%


005             691,976                    1           0.00%          409,269    59.14%       9,031    418,300         60.45%                  54,614    7.89%

      VAP       541,900                                               306,497    56.56%        5,708   312,205         57.61%                  37,210    6.87%


006             691,975                    0           0.00%           86,265    12.47%       6,771     93,036         13.44%                  92,409   13.35%

      VAP       519,046                                                64,149    12.36%        3,330    67,479         13.00%                  62,253   11.99%


007             691,975                    0           0.00%          125,010    18.07%       8,298    133,308         19.26%                 129,930   18.78%

      VAP       489,868                                                83,770    17.10%        3,453    87,223         17.81%                  82,112   16.76%


008             691,976                    1           0.00%          204,995    29.62%       5,455    210,450         30.41%                  39,578    5.72%

      VAP       518,240                                               145,966    28.17%        1,898   147,864         28.53%                  25,129    4.85%


009             691,975                    0           0.00%           46,065    6.66%        3,675     49,740          7.19%                  79,413   11.48%

      VAP       520,856                                                33,384    6.41%         1,014    34,398          6.60%                  46,597    8.95%


010             691,976                    1           0.00%          172,398    24.91%       5,577    177,975         25.72%                  32,589    4.71%

      VAP       521,343                                               123,759    23.74%        1,963   125,722         24.12%                  20,668    3.96%


011             691,975                    0           0.00%          107,707    15.57%       7,554    115,261         16.66%                  75,109   10.85%

      VAP       512,598                                                76,732    14.97%        3,130    79,862         15.58%                  47,452    9.26%


012             691,975                    0           0.00%          238,190    34.42%       7,297    245,487         35.48%                  36,890    5.33%

      VAP       518,253                                               169,848    32.77%        2,741   172,589         33.30%                  23,384    4.51%


013             691,976                    1           0.00%          382,493    55.28%      11,657    394,150         56.96%                  71,303   10.30%

      VAP       495,652                                               262,130    52.89%        5,163   267,293         53.93%                  43,142    8.70%


014             691,974                   -1           0.00%           57,918    8.37%        5,428     63,346          9.15%                  70,995   10.26%

      VAP       508,184                                                40,501    7.97%         1,480    41,981          8.26%                  41,291    8.13%




DATA SOURCE: 2010 US Census PL94-171 Population Cou                                                                                     1
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Plan Name: Congress12                                     Plan Type : Congress               User: staff           Administrator: State




                                                                 %                        %        BLACK   TOTAL       %TOTAL                 HISP. OR
DISTRICT             POPULATION               DEVIATION     DEVIATION            BLACK   BLACK     COMBO   BLACK        BLACK                  LATINO    %HISP


Total Population:         9,687,653
Ideal Value:        691,975
Summary Statistics
Population Range:         691,974     to    691,976

Absolute Overall Range:               2

Relative Range:           0.00%        to   0.00%
Relative Overall Range:        0.00%




DATA SOURCE: 2010 US Census PL94-171 Population Cou                                                                                       2
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                                     Population Summary Report
                          Georgia U.S. House -- 2020 Census -- 2012 Benchmark Plan

District   Population     Deviation % Deviation AP Black      % AP Black    Latino     % Latino      NH White   % NH White


01              755781      -9355        -1.22%      230595      30.51%       59037        7.81%       431902      57.15%
02              673028     -92108       -12.04%      357993      53.19%       38403        5.71%       259967      38.63%
03              763075      -2061        -0.27%      210025      27.52%       49428        6.48%       467888      61.32%
04              773761       8625         1.13%      478654      61.86%       84862       10.97%       160581      20.75%
05              788126      22990         3.00%      450410      57.15%       65869        8.36%       229087      29.07%
06              765793        657         0.09%      111594      14.57%      107495       14.04%       425616      55.58%
07              859440      94304        12.33%      192903      22.45%      179379       20.87%       327075      38.06%
08              719919     -45217        -5.91%      234178      32.53%       49867        6.93%       410808      57.06%
09              775367      10231         1.34%       58090       7.49%      102240       13.19%       580920      74.92%
10              775012       9876         1.29%      204453      26.38%       52350        6.75%       480661      62.02%
11              802515      37379         4.89%      147155      18.34%      101218       12.61%       501446      62.48%
12              738624     -26512        -3.47%      270885      36.67%       49500        6.70%       390796      52.91%
13              792916      27780         3.63%      509032      64.20%       95919       12.10%       164627      20.76%
14              728551     -36585        -4.78%       82179      11.28%       87890       12.06%       530782      72.85%

Total        10711908                    24.37% 3538146          33.03%     1123457       10.49%      5362156      50.06%

                            18+ SR     % 18+ SR     18+ AP    % 18+ AP                               18+ NH      % 18+ NH
District     18+ Pop         Black        Black      Black     Black       18+ Latino % 18+ Latino    White       White


01              582105     157603        27.07%      165850      28.49%        39826        6.84%      349176      59.99%
02              518145     257952        49.78%      264896      51.12%        25509        4.92%      214262      41.35%
03              583475     144198        24.71%      151383      25.95%        32235        5.52%      373021      63.93%
04              587002     342687        58.38%      357025      60.82%        55810        9.51%      136384      23.23%
05              635913     337506        53.07%      350672      55.14%        47194        7.42%      200864      31.59%
06              589600      76565        12.99%       85256      14.46%        72875      12.36%       342630      58.11%
07              635791     125592        19.75%      136048      21.40%      120021       18.88%       261700      41.16%
08              549306     163622        29.79%      169305      30.82%        32639        5.94%      328086      59.73%
09              603376      37833         6.27%       41315       6.85%        64783      10.74%       471167      78.09%
10              599155     143138        23.89%      149396      24.93%        34397       5.74%       386676      64.54%
11              622759     100488        16.14%      109414      17.57%        67723      10.87%       404958      65.03%
12              565091     189400        33.52%      197124      34.88%        32450       5.74%       313867      55.54%
13              596630     359769        60.30%      373783      62.65%        62186      10.42%       140659      23.58%
14              551926      52066         9.43%       56519      10.24%        55270      10.01%       418883      75.89%

Total         8220274 2488419            30.27% 2607986          31.73%      742918         9.04%     4342333      52.82%

           % NH Single-              % NH Single-   % SR NH
            Race Black    % Latino    Race Asian     White
District      CVAP*        CVAP         CVAP*        CVAP


001          30.09%         4.47%         1.55%      62.88%
002          51.78%         2.96%         1.00%      43.47%
003          24.88%         3.61%         1.60%      69.06%
004          63.91%         3.95%         3.45%      27.85%
005          59.21%         3.50%         3.41%      33.18%
006          15.20%         5.78%         8.07%      70.14%
007          22.46%         9.90%        11.84%      54.91%
008          31.28%         3.20%         1.28%      63.51%
009           7.15%         5.32%         1.12%      85.39%
010          25.49%         3.29%         1.89%      68.68%
011          17.37%         5.62%         2.67%      73.54%
012          35.23%         3.75%         1.45%      58.83%
013          61.85%         5.45%         2.46%      29.45%
014           9.57%         5.27%         0.85%      83.31%

Note: Citizen Voting Age Population (CVAP) percentages are disaggregated from block-group level ACS estimates (with a
survey midpoint of July 2017)
Source for CVAP disaggregation: Redistricting Data Hub
https://redistrictingdatahub.org/dataset/georgia-cvap-data-disaggregated-to-the-2020-block-level-2019/
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       User: S018
 Plan Name: Congress-prop1-2021
  Plan Type: Congress

Population Summary

Summary Statistics:
Population Range:                   765,135 to 765,137
Ratio Range:                        0.00
Absolute Range:                     -1 to 1
Absolute Overall Range:             2
Relative Range:                     0.00% to 0.00%
Relative Overall Range:             0.00%
Absolute Mean Deviation:            0.71
Relative Mean Deviation:            0.00%
Standard Deviation:                 0.80

District          Population Deviation             % Devn.   [18+_Pop] [% 18+_Pop] [% NH_Wht]   [% NH_Blk] [% Hispanic [% NH_Asn] [% NH_Ind] [% NH_Hwn] [% NH_Oth]   [% NH_2+
                                                                                                               Origin]                                                  Races]
001                       765,137             1      0.00%      589,266     77.01%     57.59%       27.54%      7.75%       2.19%      0.24%      0.16%      0.44%          4.1%
002                       765,137             1      0.00%      587,555     76.79%     39.94%       49.03%      5.95%       1.34%      0.21%       0.1%      0.34%        3.09%
003                       765,136             0      0.00%      586,319     76.63%     64.37%       22.61%      6.31%       2.09%      0.21%      0.04%      0.47%        3.91%
004                       765,135             -1     0.00%      589,470     77.04%     25.82%       52.19%     11.63%       6.13%      0.16%      0.04%      0.65%        3.39%
005                       765,137             1      0.00%      621,515     81.23%     35.79%       48.53%      7.38%       4.09%      0.16%      0.04%      0.52%        3.49%
006                       765,136             0      0.00%      574,797     75.12%      63.7%        8.58%     10.23%       12.4%      0.16%      0.04%      0.69%        4.21%
007                       765,137             1      0.00%      566,934      74.1%     29.52%       28.11%     23.77%      14.26%      0.16%      0.04%      0.69%        3.45%
008                       765,136             0      0.00%      585,857     76.57%     57.91%       29.72%      7.17%       1.56%      0.19%      0.05%      0.31%        3.09%
009                       765,137             1      0.00%      592,520     77.44%      64.7%        9.72%     15.39%       5.95%       0.2%      0.04%      0.42%        3.59%
010                       765,135             -1     0.00%      588,874     76.96%     63.58%       22.12%      7.66%       2.26%      0.17%      0.04%      0.53%        3.63%
011                       765,137             1      0.00%      595,201     77.79%     61.33%       16.33%     13.04%       3.76%      0.19%      0.04%      0.82%        4.49%
012                       765,136             0      0.00%      588,119     76.86%     52.13%       36.12%      5.63%       1.83%      0.21%      0.11%      0.36%        3.61%
013                       765,137             1      0.00%      574,789     75.12%     16.35%       64.26%     12.23%       3.17%      0.18%      0.05%      0.66%          3.1%
014                       765,135             -1     0.00%      579,058     75.68%     68.07%       13.58%     12.69%       1.14%      0.22%      0.05%       0.4%        3.85%

Total:          10,711,908
Ideal District:    765,136




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       User: S018
 Plan Name: Congress-prop1-2021
  Plan Type: Congress

Population Summary

Summary Statistics:
Population Range:                   765,135 to 765,137
Ratio Range:                        0.00
Absolute Range:                     -1 to 1
Absolute Overall Range:             2
Relative Range:                     0.00% to 0.00%
Relative Overall Range:             0.00%
Absolute Mean Deviation:            0.71
Relative Mean Deviation:            0.00%
Standard Deviation:                 0.80

District          Population Deviation             % Devn.   [18+_Pop] [% 18+_Pop]          [%         [%            [%        [%          [%        [%        [%           [%
                                                                                     NH18+_Wht] NH18+_Blk]    H18+_Pop] NH18+_Asn] NH18+_Ind] NH18+_Hwn NH18+_Oth]    NH18+_2+
                                                                                                                                                       ]                 Races]
001                       765,137             1      0.00%      589,266     77.01%        60.41%     26.44%        6.78%     2.36%      0.26%      0.14%      0.37%        3.24%
002                       765,137             1      0.00%      587,555     76.79%        42.73%     47.62%        5.12%     1.41%      0.23%      0.09%      0.28%        2.53%
003                       765,136             0      0.00%      586,319     76.63%        66.83%       22%         5.33%     2.08%      0.22%      0.04%      0.38%        3.11%
004                       765,135             -1     0.00%      589,470     77.04%        28.25%     51.79%       10.12%     6.09%      0.16%      0.04%      0.58%        2.96%
005                       765,137             1      0.00%      621,515     81.23%        37.92%     47.14%        6.67%     4.53%      0.16%      0.04%      0.48%        3.07%
006                       765,136             0      0.00%      574,797     75.12%        66.63%      8.61%        9.11%    11.44%      0.14%      0.04%      0.63%        3.41%
007                       765,137             1      0.00%      566,934      74.1%        32.78%     27.35%       21.27%    14.97%      0.16%      0.04%      0.59%        2.85%
008                       765,136             0      0.00%      585,857     76.57%        60.52%     28.84%         6.1%      1.6%       0.2%      0.05%      0.25%        2.43%
009                       765,137             1      0.00%      592,520     77.44%        68.29%      9.37%       12.89%     5.94%      0.21%      0.03%      0.34%        2.92%
010                       765,135             -1     0.00%      588,874     76.96%         66.2%     21.34%        6.51%      2.3%      0.19%      0.03%      0.46%        2.98%
011                       765,137             1      0.00%      595,201     77.79%        63.99%     16.25%       11.22%     3.82%       0.2%      0.04%      0.75%        3.73%
012                       765,136             0      0.00%      588,119     76.86%        54.65%     35.06%        4.87%     1.95%      0.22%       0.1%       0.3%        2.86%
013                       765,137             1      0.00%      574,789     75.12%        18.82%     63.75%       10.52%     3.38%      0.19%      0.05%      0.61%        2.68%
014                       765,135             -1     0.00%      579,058     75.68%        71.33%     13.14%       10.58%     1.17%      0.23%      0.04%      0.32%          3.2%

Total:          10,711,908
Ideal District:    765,136




                                                                                                                                                                        Page 1 of 1
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   DECLARATION OF WILLIAM S. COOPER: EXHIBIT H
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                                     Population Summary Report
                          Georgia U.S. House -- 2020 Census -- 2021 Plan

District   Population     Deviation % Deviation AP Black      % AP Black    Latino     % Latino      NH White   % NH White


001             765137           1        0.00%      230783      30.16%       59328        7.75%       440636      57.59%
002             765137           1        0.00%      393195      51.39%       45499        5.95%       305611      39.94%
003             765136           0        0.00%      188947      24.69%       48285        6.31%       492494      64.37%
004             765135          -1        0.00%      423763      55.38%       88947       11.63%       197536      25.82%
005             765137           1        0.00%      392822      51.34%       56496        7.38%       273819      35.79%
006             765136           0        0.00%       78871      10.31%       78299       10.23%       487400      63.70%
007             765137           1        0.00%      239717      31.33%      181851       23.77%       225905      29.52%
008             765136           0        0.00%      241628      31.58%       54850        7.17%       443123      57.91%
009             765137           1        0.00%       87130      11.39%      117758       15.39%       495078      64.70%
010             765135          -1        0.00%      184137      24.07%       58645        7.66%       486487      63.58%
011             765137           1        0.00%      143404      18.74%       99794       13.04%       469264      61.33%
012             765136           0        0.00%      294961      38.55%       43065        5.63%       398843      52.13%
013             765137           1        0.00%      520094      67.97%       93554       12.23%       125106      16.35%
014             765135          -1        0.00%      118694      15.51%       97086       12.69%       520854      68.07%

Total        10711908                     0.00% 3538146          33.03%     1123457       10.49%      5362156      50.06%

                            18+ SR     % 18+ SR     18+ AP    % 18+ AP                               18+ NH      % 18+ NH
District     18+ Pop         Black        Black      Black     Black       18+ Latino % 18+ Latino    White       White


01              589266     157770        26.77%      166025      28.17%        39938        6.78%      355947      60.41%
02              587555     281564        47.92%      289612      49.29%        30074        5.12%      251047      42.73%
03              586319     130099        22.19%      136708      23.32%        31274        5.33%      391849      66.83%
04              589470     308266        52.30%      321379      54.52%        59670      10.12%       166544      28.25%
05              621515     295885        47.61%      308271      49.60%        41432        6.67%      235652      37.92%
06              574797      50334         8.76%       56969       9.91%        52353        9.11%      382971      66.63%
07              566934     157650        27.81%      169071      29.82%      120604       21.27%       185838      32.78%
08              585857     170421        29.09%      175967      30.04%        35732        6.10%      354572      60.52%
09              592520      56416         9.52%       61747      10.42%        76361      12.89%       404611      68.29%
10              588874     126798        21.53%      133097      22.60%        38336       6.51%       389823      66.20%
11              595201      98212        16.50%      106811      17.95%        66802      11.22%       380895      63.99%
12              588119     207872        35.35%      215958      36.72%        28628       4.87%       321394      54.65%
13              574789     370024        64.38%      383663      66.75%        60467      10.52%       108160      18.82%
14              579058      77108        13.32%       82708      14.28%        61247      10.58%       413030      71.33%

Total         8220274 2488419            30.27% 2607986          31.73%      742918         9.04%     4342333      52.82%

           % NH Single-              % NH Single-   % SR NH
            Race Black    % Latino    Race Asian     White
District      CVAP*        CVAP         CVAP*        CVAP


001          29.85%         4.32%         1.53%      63.37%
002          50.00%         3.11%         1.05%      44.97%
003          22.82%         3.35%         1.47%      71.44%
004          58.04%         3.74%         3.77%      33.70%
005          53.48%         3.24%         3.08%      39.58%
006          10.00%         5.31%         6.15%      77.67%
007          31.93%        10.21%        11.79%      45.17%
008          30.61%         3.37%         1.26%      64.11%
009          10.38%         6.58%         3.92%      78.18%
010          22.56%         3.53%         1.70%      71.57%
011          18.09%         5.82%         2.69%      72.26%
012          37.20%         3.32%         1.45%      57.28%
013          66.88%         5.43%         3.05%      23.84%
014          13.38%         5.67%         1.04%      79.04%

Note: Citizen Voting Age Population (CVAP) percentages are disaggregated from block-group level ACS estimates (with a
survey midpoint of July 2017)
Source for CVAP disaggregation: Redistricting Data Hub
https://redistrictingdatahub.org/dataset/georgia-cvap-data-disaggregated-to-the-2020-block-level-2019/
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   DECLARATION OF WILLIAM S. COOPER: EXHIBIT J
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                                     Population Summary Report
                          Georgia U.S. House -- 2020 Census -- Illustrative Plan

District   Population     Deviation % Deviation AP Black       % AP Black    Latino     % Latino      NH White   % NH White


001            765137            1        0.00%     230783        30.16%       59328        7.75%       440636      57.59%
002            765137            1        0.00%     393195        51.39%       45499        5.95%       305611      39.94%
003            765137            1        0.00%     169940        22.21%       50613        6.61%       513780      67.15%
004            765135           -1        0.00%     407044        53.20%       87771       11.47%       214908      28.09%
005            765137            1        0.00%     392822        51.34%       56496        7.38%       273819      35.79%
006            765137            1        0.00%     396936        51.88%      106608       13.93%       225248      29.44%
007            765137            1        0.00%     239717        31.33%      181851       23.77%       225905      29.52%
008            765136            0        0.00%     241628        31.58%       54850        7.17%       443123      57.91%
009            765136            0        0.00%      94059        12.29%      128393       16.78%       429340      56.11%
010            765137            1        0.00%     118199        15.45%       61244        8.00%       548312      71.66%
011            765135           -1        0.00%     107364        14.03%       82166       10.74%       496255      64.86%
012            765136            0        0.00%     294961        38.55%       43065        5.63%       398843      52.13%
013            765136            0        0.00%     407053        53.20%       71777        9.38%       250713      32.77%
014            765135           -1        0.00%      44445         5.81%       93796       12.26%       595663      77.85%

Total        10711908                     0.00% 3538146           33.03%     1123457       10.49%      5362156      50.06%

                            18+ SR     % 18+ SR    18+ AP      % 18+ AP                               18+ NH      % 18+ NH
District    18+ Pop          Black        Black     Black       Black       18+ Latino % 18+ Latino    White       White


001            589266      157770       26.77%      166025        28.17%        39938        6.78%      355947      60.41%
002            587555      281564       47.92%      289612        49.29%        30074        5.12%      251047      42.73%
003            580628      115094       19.82%      121443        20.92%        32286        5.56%      403737      69.53%
004            590588      296712       50.24%      309449        52.40%        58928        9.98%      179975      30.47%
005            621515      295885       47.61%      308271        49.60%        41432        6.67%      235652      37.92%
006            588518      282569       48.01%      295632        50.23%        70849      12.04%       192244      32.67%
007            566934      157650       27.81%      169071        29.82%      120604       21.27%       185838      32.78%
008            585857      170421       29.09%      175967        30.04%        35732        6.10%      354572      60.52%
009            564244       59821       10.60%       65790        11.66%        83453      14.79%       335720      59.50%
010            602127       81481       13.53%       86178        14.31%        39876       6.62%       447109      74.25%
011            587214       69915       11.91%       77925        13.27%        55438       9.44%       395951      67.43%
012            588119      207872       35.35%      215958        36.72%        28628       4.87%       321394      54.65%
013            576089      284619       49.41%      296082        51.40%        46414       8.06%       205295      35.64%
014            591620       27046        4.57%       30583         5.17%        59266      10.02%       477852      80.77%

Total         8220274 2488419           30.27% 2607986            31.73%      742918         9.04%     4342333      52.82%

           % NH Single-              % NH Single-
            Race Black    % Latino    Race Asian   % SR NH
District      CVAP*        CVAP         CVAP*     White CVAP


001         29.85%          4.32%        1.53%      63.37%
002         50.00%          3.11%        1.05%      44.97%
003         20.40%          3.48%        1.12%      74.12%
004         55.48%          3.65%        3.73%      36.35%
005         53.48%          3.24%        3.08%      39.58%
006         50.69%          6.22%        2.65%      39.76%
007         31.93%         10.21%       11.79%      45.17%
008         30.61%          3.37%        1.26%      64.11%
009         11.66%          8.11%        6.82%      72.61%
010         15.38%          3.54%        1.62%      78.72%
011         13.30%          5.31%        4.38%      76.14%
012         37.20%          3.32%        1.45%      57.28%
013         50.05%          4.56%        3.01%      41.49%
014          5.14%          4.98%        0.80%      87.82%

Note: Citizen Voting Age Population (CVAP) percentages are disaggregated from block-group level ACS estimates (with
a survey midpoint of July 2017)
Source for CVAP disaggregation: Redistricting Data Hub
https://redistrictingdatahub.org/dataset/georgia-cvap-data-disaggregated-to-the-2020-block-level-2019/
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   DECLARATION OF WILLIAM S. COOPER: EXHIBIT K
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   DECLARATION OF WILLIAM S. COOPER: EXHIBIT L-1
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      User:
Plan Name: ga_congress_illustrative_changed_districts
 Plan Type: Senate


Measures of Compactness Report
Monday, January 10, 2022                                                                         7:21 AM



                 Reock                                  Polsby-
                                                        Popper
    Sum           N/A                                    N/A
    Min           0.29                                   0.16
    Max           0.48                                   0.34
    Mean          0.40                                   0.23
  Std. Dev.       0.05                                   0.07

   District      Reock                                  Polsby-
                                                        Popper


     003          0.40                                    0.25

     004          0.29                                    0.21

     006          0.38                                    0.16

     009          0.40                                    0.32

     010          0.40                                    0.18

     011          0.40                                    0.16

     013          0.42                                    0.25

     014          0.48                                    0.34




                                                                                                   Page 1 of 2
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Measures of Compactness Report                                                                ga_congress_illustrative_chan


 Measures of Compactness Summary

 Reock               The measure is always between 0 and 1, with 1 being the most compact.
 Polsby-Popper       The measure is always between 0 and 1, with 1 being the most compact.




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   DECLARATION OF WILLIAM S. COOPER: EXHIBIT L-2
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      User:
Plan Name: ga_congress_2021__plan_8_district_comparison
 Plan Type: Senate


Measures of Compactness Report
Monday, January 10, 2022                                                                        7:26 AM



                 Reock                                    Polsby-
                                                          Popper
    Sum           N/A                                      N/A
    Min           0.31                                     0.16
    Max           0.56                                     0.37
   Mean           0.43                                     0.25
  Std. Dev.      0.08                                      0.06

   District      Reock                                    Polsby-
                                                          Popper


     003          0.46                                      0.28

     004          0.31                                      0.25

     006          0.42                                      0.20

     009          0.38                                      0.25

     010          0.56                                      0.28

     011          0.48                                      0.21

     013          0.38                                      0.16

     014          0.43                                      0.37




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Measures of Compactness Report                                                                ga_congress_2021__plan_8_di


 Measures of Compactness Summary

 Reock               The measure is always between 0 and 1, with 1 being the most compact.
 Polsby-Popper       The measure is always between 0 and 1, with 1 being the most compact.




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  DECLARATION OF WILLIAM S. COOPER: EXHIBIT M-1
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      User:
Plan Name: ga_congress_illustrative_changed_districts
 Plan Type: Senate


Political Subdivison Splits Between Districts
Monday, January 10, 2022                                                                                 7:22 AM
                                                   Split Counts
Number of subdivisions split into more than one district: Number of splits involving no population:
County                                            13      County                                            0



Number of times a subdivision is split into multiple districts:
County                                                14
Voting District                                       49

County                                                                                   District     Population
Split Counties:
Cherokee GA                                                                                  011          122,400
Cherokee GA                                                                                  014          144,220
Clayton GA                                                                                   013          259,676
Cobb GA                                                                                      006          477,809
Cobb GA                                                                                      011          288,340
DeKalb GA                                                                                    004          601,451
Douglas GA                                                                                   003           25,423
Douglas GA                                                                                   006          118,814
Fayette GA                                                                                   006            4,143
Fayette GA                                                                                   013          115,051
Fulton GA                                                                                    006          164,371
Fulton GA                                                                                    011          245,494
Gwinnett GA                                                                                  009          284,483
Hall GA                                                                                      009          153,463
Hall GA                                                                                      010           49,673
Lumpkin GA                                                                                   010           29,598
Lumpkin GA                                                                                   014            3,890
Muscogee GA                                                                                  003           31,767
Newton GA                                                                                    004           70,114
Newton GA                                                                                    013           42,369
Wilkes GA                                                                                    010            1,802
Split VTDs:
Cherokee GA                                                                                  011             5,916
Cherokee GA                                                                                  014               623
Cherokee GA                                                                                  011               373
Cherokee GA                                                                                  014             8,830
Cobb GA                                                                                      006             2,122
Cobb GA                                                                                      011             5,213
Cobb GA                                                                                      006                70
Cobb GA                                                                                      011             7,152
Cobb GA                                                                                      006             7,529
Cobb GA                                                                                      011             3,661
Cobb GA                                                                                      006               411


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Political Subdivison Splits Between Districts               ga_congress_illustrative_chan

County                                                        District      Population
Cobb GA                                                           011              3,511
Cobb GA                                                           006              4,742
Cobb GA                                                           011                459
Cobb GA                                                           006              5,693
Cobb GA                                                           011                177
Cobb GA                                                           006              2,972
Cobb GA                                                           011              1,471
Cobb GA                                                           006              7,666
Cobb GA                                                           011                 64
Cobb GA                                                           006                747
Cobb GA                                                           011              2,444
Cobb GA                                                           006              4,228
Cobb GA                                                           011                106
Cobb GA                                                           006              1,933
Cobb GA                                                           011              2,828
Cobb GA                                                           006              3,022
Cobb GA                                                           011              1,532
Cobb GA                                                           006                102
Cobb GA                                                           011              3,068
Cobb GA                                                           006                103
Cobb GA                                                           011              3,873
Cobb GA                                                           006              1,886
Cobb GA                                                           011              5,051
DeKalb GA                                                         004                341
DeKalb GA                                                         004              2,220
DeKalb GA                                                         004              2,482
Douglas GA                                                        003              5,224
Douglas GA                                                        006                369
Douglas GA                                                        003              6,402
Douglas GA                                                        006                 97
Fayette GA                                                        006                399
Fayette GA                                                        013              3,340
Fayette GA                                                        006              2,820
Fayette GA                                                        013                330
Fayette GA                                                        006                 22
Fayette GA                                                        013              3,458
Fayette GA                                                        006                902
Fayette GA                                                        013              1,838
Fulton GA                                                         006                700
Fulton GA                                                         006              1,718
Fulton GA                                                         011                164
Fulton GA                                                         011              7,186
Fulton GA                                                         006                773
Fulton GA                                                         011              3,803
Fulton GA                                                         011                900
Fulton GA                                                         011              5,019
Fulton GA                                                         011                594



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Political Subdivison Splits Between Districts               ga_congress_illustrative_chan

County                                                        District      Population
Fulton GA                                                         011                309
Gwinnett GA                                                       009              5,138
Hall GA                                                           009              6,606
Hall GA                                                           010                181
Hall GA                                                           009                 25
Hall GA                                                           010              6,845
Hall GA                                                           009                366
Hall GA                                                           010              5,685
Lumpkin GA                                                        010             29,598
Lumpkin GA                                                        014              3,890
Muscogee GA                                                       003              1,271
Muscogee GA                                                       003                192
Muscogee GA                                                       003              1,082
Newton GA                                                         004              2,860
Newton GA                                                         013              3,695
Newton GA                                                         004                533
Newton GA                                                         013              6,697
Newton GA                                                         004              2,170
Newton GA                                                         013              6,451
Wilkes GA                                                         010                106
Wilkes GA                                                         010                774




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  DECLARATION OF WILLIAM S. COOPER: EXHIBIT M-2
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      User:
Plan Name: ga_congress_2021__plan_8_district_comparison
 Plan Type: Senate


Political Subdivison Splits Between Districts
Monday, January 10, 2022                                                                                 7:29 AM
                                                   Split Counts
Number of subdivisions split into more than one district: Number of splits involving no population:
County                                            14      County                                            2



Number of times a subdivision is split into multiple districts:
County                                                19
Voting District                                       47

County                                                                                   District     Population
Split Counties:
Cherokee GA                                                                                  006           40,881
Cherokee GA                                                                                  011          225,739
Clayton GA                                                                                   013          259,676
Cobb GA                                                                                      006          165,925
Cobb GA                                                                                      011          397,281
Cobb GA                                                                                      013          125,029
Cobb GA                                                                                      014           77,914
DeKalb GA                                                                                    004          601,451
Douglas GA                                                                                   003           42,970
Douglas GA                                                                                   013          101,267
Fayette GA                                                                                   003          102,685
Fayette GA                                                                                   013           16,509
Franklin GA                                                                                  009           23,424
Franklin GA                                                                                  010                0
Fulton GA                                                                                    006          245,494
Fulton GA                                                                                    013          164,371
Gilmer GA                                                                                    009           31,353
Gilmer GA                                                                                    014                0
Gwinnett GA                                                                                  006           34,755
Gwinnett GA                                                                                  009          249,728
Henry GA                                                                                     003           23,975
Henry GA                                                                                     010          118,452
Henry GA                                                                                     013           98,285
Muscogee GA                                                                                  003           31,767
Newton GA                                                                                    004           70,114
Newton GA                                                                                    010           42,369
Wilkes GA                                                                                    010            1,802
Split VTDs:
Cherokee GA                                                                                  006             2,468
Cherokee GA                                                                                  011             7,593
Cobb GA                                                                                      006             3,511
Cobb GA                                                                                      011               411
Cobb GA                                                                                      006               459


                                                                                                      Page 1 of 3
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Political Subdivison Splits Between Districts               ga_congress_2021__plan_8_di

County                                                        District     Population
Cobb GA                                                           011             4,742
Cobb GA                                                           006               177
Cobb GA                                                           011             5,693
Cobb GA                                                           011             2,051
Cobb GA                                                           014             3,151
Cobb GA                                                           013             5,999
Cobb GA                                                           014             1,103
Cobb GA                                                           013             4,152
Cobb GA                                                           014             1,531
Cobb GA                                                           006               106
Cobb GA                                                           011             4,228
Cobb GA                                                           006             2,828
Cobb GA                                                           011             1,933
Cobb GA                                                           006             1,532
Cobb GA                                                           011             3,022
Cobb GA                                                           011             6,108
Cobb GA                                                           013                18
Cobb GA                                                           011             3,804
Cobb GA                                                           013               807
Cobb GA                                                           011             3,496
Cobb GA                                                           014             1,409
Cobb GA                                                           006             1,900
Cobb GA                                                           011             1,785
Cobb GA                                                           006             5,051
Cobb GA                                                           011             1,886
Cobb GA                                                           011             6,191
Cobb GA                                                           013             3,601
Cobb GA                                                           011             1,557
Cobb GA                                                           013             5,432
Cobb GA                                                           011               366
Cobb GA                                                           013             8,229
DeKalb GA                                                         004               341
DeKalb GA                                                         004             2,220
DeKalb GA                                                         004             2,482
Douglas GA                                                        003             7,167
Douglas GA                                                        013               324
Douglas GA                                                        003             2,125
Douglas GA                                                        013             1,028
Franklin GA                                                       009             3,503
Franklin GA                                                       010                 0
Fulton GA                                                         013               700
Fulton GA                                                         013             1,718
Fulton GA                                                         006               164
Fulton GA                                                         006             7,186
Fulton GA                                                         013               773
Fulton GA                                                         006             3,803
Fulton GA                                                         006               900



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Political Subdivison Splits Between Districts               ga_congress_2021__plan_8_di

County                                                        District     Population
Fulton GA                                                         006             5,019
Fulton GA                                                         006               594
Fulton GA                                                         006               309
Gilmer GA                                                         009             1,533
Gilmer GA                                                         014                 0
Gwinnett GA                                                       009             5,138
Muscogee GA                                                       003             1,271
Muscogee GA                                                       003               192
Muscogee GA                                                       003             1,082
Newton GA                                                         004             6,251
Newton GA                                                         010               464
Newton GA                                                         004             2,372
Newton GA                                                         010               712
Newton GA                                                         004               114
Newton GA                                                         010             8,507
Newton GA                                                         004             4,260
Newton GA                                                         010             2,077
Newton GA                                                         004             1,737
Newton GA                                                         010             2,304
Wilkes GA                                                         010                 0
Wilkes GA                                                         010               106
Wilkes GA                                                         010               774




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   DECLARATION OF WILLIAM S. COOPER: EXHIBIT N-1
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      User:
Plan Name: ga_congress_illustrative_changed_districts
 Plan Type: Senate


Communities of Interest (Condensed)
Monday, January 10, 2022                                                                         8:42 AM
Whole City/Town : 636
City/Town Splits: 83
Zero Population City/Town Splits: 4

District             City/Town       Population    % Pop District   City/Town       Population     % Pop
Unassigned           Riverdale               0      0.00% 004       Avondale              341      9.56%
Unassigned           Forest Park         14,165    71.07%           Estates
Unassigned           Conley               2,256    33.77% 004       Scottdale            9,615    89.88%
Unassigned           North                2,019    10.91% 004       North Druid         19,868    97.46%
                     Decatur                                        Hills
Unassigned           Panthersville       10,685    95.09% 004       Atlanta                42      0.01%
Unassigned           Candler-            17,374    77.33% 004       Porterdale           1,720    95.61%
                     McAfee                                 006     Villa Rica           5,810    34.24%
Unassigned           Belvedere            6,327    41.86% 006       Chattahooch          2,948    99.93%
                     Park                                           ee Hills
Unassigned           Avondale             3,226    90.44% 006       Palmetto             4,510    88.94%
                     Estates                                006     Tyrone                  0      0.00%
Unassigned           Scottdale            1,083    10.12% 006       Fayetteville          231      1.22%
Unassigned           Sandy               54,549    50.47% 006       South Fulton       103,705    96.53%
                     Springs                              006       College Park         4,972    35.69%
Unassigned           North Druid           517      2.54% 006       East Point           3,706     9.66%
                     Hills
                                                            006     Atlanta               700      0.14%
Unassigned           Roswell              4,165     4.49%
                                                            006     Acworth              2,216     9.88%
Unassigned           South Fulton         3,731     3.47%
                                                            006     Kennesaw            25,679    77.73%
Unassigned           College Park         8,958    64.31%
                                                            006     Marietta            50,307    82.51%
Unassigned           East Point          34,652    90.34%
                                                            009     Auburn                225      3.00%
Unassigned           Atlanta            497,973    99.85%
                                                            009     Braselton           11,396    85.03%
Unassigned           Columbus           175,155    84.65%
                                                            009     Gainesville         39,707    93.88%
Unassigned           Manchester             92      2.57%
                                                            009     Gillsville            212     69.28%
Unassigned           Alpharetta           4,390     6.67%
                                                            009     Maysville             834     44.67%
Unassigned           Suwanee               346      1.66%
                                                            009     Suwanee             20,440    98.34%
Unassigned           Loganville           3,155    22.33%
                                                            009     Lawrenceville        1,613     5.27%
Unassigned           Lawrenceville       29,016    94.73%
                                                            009     Dacula                  0      0.00%
Unassigned           Dacula               6,882   100.00%
                                                            010     Social Circle        4,969    99.90%
003                  Villa Rica          11,160    65.76%
                                                            010     Auburn               7,270    97.00%
003                  Chattahooch             2      0.07%
                                                            010     Braselton            2,007    14.97%
                     ee Hills
                                                            010     Gainesville          2,589     6.12%
003                  Palmetto              561     11.06%
                                                            010     Gillsville             94     30.72%
003                  Columbus            31,767    15.35%
                                                            010     Maysville            1,033    55.33%
003                  Manchester           3,492    97.43%
                                                            010     Loganville          10,972    77.67%
003                  Taylorsville           35     13.89%
                                                            011     Sandy               53,531    49.53%
004                  Social Circle           5      0.10%
                                                                    Springs
004                  North               16,492    89.09%
                                                            011     Roswell             88,668    95.51%
                     Decatur
                                                            011     Acworth             20,224    90.12%
004                  Panthersville         552      4.91%
                                                            011     Kennesaw             7,357    22.27%
004                  Candler-             5,094    22.67%
                                                            011     Alpharetta          61,428    93.33%
                     McAfee
                                                            011     Taylorsville          217     86.11%
004                  Belvedere            8,786    58.14%
                     Park                                   011     Marietta            10,665    17.49%
                                                            011     Woodstock           33,557    95.70%



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Communities of Interest (Condensed)                                      ga_congress_illustrative_chan

District            City/Town       Population    % Pop District   City/Town    Population     % Pop
011                 Holly Springs          45      0.28%
013                 Tyrone               7,658   100.00%
013                 Fayetteville        18,726    98.78%
013                 Riverdale           15,129   100.00%
013                 Forest Park          5,767    28.93%
013                 Conley               4,424    66.23%
013                 Porterdale             79      4.39%
014                 Woodstock            1,508     4.30%
014                 Holly Springs       16,168    99.72%




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   DECLARATION OF WILLIAM S. COOPER: EXHIBIT N-2
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      User:
Plan Name: ga_congress_2021__plan_8_district_comparison
 Plan Type: Senate


Communities of Interest (Condensed)
Monday, January 10, 2022                                                                        8:36 AM
Whole City/Town : 631
City/Town Splits: 96
Zero Population City/Town Splits: 6

District            City/Town       Population    % Pop District   City/Town       Population     % Pop
Unassigned          Riverdale               0     0.00% 004        Candler-             5,094    22.67%
Unassigned          Forest Park         14,165   71.07%            McAfee
Unassigned          Conley               2,256   33.77% 004        Belvedere            8,786    58.14%
Unassigned          North                2,019   10.91%            Park
                    Decatur                               004      Avondale              341      9.56%
Unassigned          Panthersville       10,685   95.09%            Estates
Unassigned          Candler-            17,374   77.33% 004        Scottdale            9,615    89.88%
                    McAfee                              004        North Druid         19,868    97.46%
Unassigned          Belvedere            6,327   41.86%            Hills
                    Park                                  004      Atlanta                42      0.01%
Unassigned          Avondale             3,226   90.44% 006        Sandy               53,531    49.53%
                    Estates                                        Springs
Unassigned          Scottdale            1,083   10.12% 006        Roswell             88,668    95.51%
Unassigned          Sandy               54,549   50.47% 006        Alpharetta          61,428    93.33%
                    Springs                               006      Suwanee                 0      0.00%
Unassigned          North Druid           517     2.54% 006        Nelson                596     52.05%
                    Hills                               006        Sugar Hill          19,576    78.07%
Unassigned          Roswell              4,165    4.49% 006        Buford                695      4.05%
Unassigned          South Fulton         3,731    3.47% 006        Marietta             8,207    13.46%
Unassigned          College Park         8,958   64.31% 006        Holly Springs         404      2.49%
Unassigned          East Point          34,652   90.34% 006        Mountain              571     97.94%
Unassigned          Atlanta            497,973   99.85%            Park
Unassigned          Columbus           175,155   84.65% 009        Royston              2,648    99.96%
Unassigned          Manchester             92     2.57% 009        Auburn                225      3.00%
Unassigned          Alpharetta           4,390    6.67% 009        Braselton            7,160    53.42%
Unassigned          Suwanee               346     1.66% 009        Maysville            1,033    55.33%
Unassigned          Loganville           3,155   22.33% 009        Suwanee             20,440    98.34%
Unassigned          Lawrenceville       29,016   94.73% 009        Lawrenceville        1,613     5.27%
Unassigned          Dacula               6,882   100.00% 009       Dacula                  0      0.00%
003                 Chattahooch             2     0.07% 009        Sugar Hill           5,500    21.93%
                    ee Hills                            009        Buford              16,449    95.95%
003                 Douglasville         1,139    3.29% 010        Royston                 1      0.04%
003                 Palmetto              561    11.06% 010        Heron Bay            3,955    84.53%
003                 Tyrone               7,658   100.00% 010       Stockbridge             0      0.00%
003                 Fayetteville        18,554    97.87% 010       McDonough           28,018    96.44%
003                 Heron Bay             724    15.47% 010        Covington             238      1.68%
003                 McDonough            1,033    3.56% 010        Oxford                 33      1.43%
003                 Columbus            31,767   15.35% 010        Auburn               7,270    97.00%
003                 Manchester           3,492   97.43% 010        Braselton            6,243    46.58%
004                 Covington           13,954   98.32% 010        Maysville             834     44.67%
004                 Oxford               2,275   98.57% 010        Loganville          10,972    77.67%
004                 North               16,492   89.09% 011        Nelson                549     47.95%
                    Decatur                               011      Taylorsville          217     86.11%
004                 Panthersville         552     4.91% 011        Marietta            52,765    86.54%
                                                          011      Smyrna              30,193    54.24%


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Communities of Interest (Condensed)                                      ga_congress_2021__plan_8_di

District            City/Town       Population    % Pop District   City/Town   Population     % Pop
011                 Holly Springs       15,809    97.51%
011                 Mountain               12      2.06%
                    Park
013                 Chattahooch          2,948    99.93%
                    ee Hills
013                 Douglasville        33,511    96.71%
013                 Palmetto             4,510    88.94%
013                 Tyrone                  0      0.00%
013                 Fayetteville          403      2.13%
013                 Stockbridge         28,973   100.00%
013                 Riverdale           15,129   100.00%
013                 Forest Park          5,767    28.93%
013                 Conley               4,424    66.23%
013                 South Fulton       103,705    96.53%
013                 Mableton            39,325    96.30%
013                 College Park         4,972    35.69%
013                 East Point           3,706     9.66%
013                 Atlanta               700      0.14%
013                 Austell               126      1.63%
013                 Smyrna              25,470    45.76%
014                 Mableton             1,509     3.70%
014                 Austell              7,587    98.37%
014                 Taylorsville           35     13.89%




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